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                   14
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   15
                                                           OAKLAND DIVISION
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                   17
                        In re Google RTB Consumer Privacy            Master File No. 4:21-cv-02155-YGR-VKD
                   18   Litigation,
                                                                     GOOGLE’S ADMINISTRATIVE MOTION TO
                   19                                                SEAL PORTIONS OF THE JOINT LETTER
                                                                     BRIEF RE ERRATA TO DEPOSITION
                   20   This Document Relates to: all actions        TRANSCRIPT OF DR. GLENN BERNTSON
                                                                     AND GOOGLE
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                                                                                 GOOGLE’S ADMIN. MOTION TO SEAL
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5(c), Google LLC

                    3   (“Google”) respectfully submits this Administrative Motion (“Motion”) to Seal Portions of the Joint

                    4   Letter Brief Regarding the Errata to Deposition Transcript of Dr. Glenn Berntson and Google (the

                    5   “Joint Letter Brief”) and the accompanying Exhibits.

                    6          As set forth below and in the accompanying Declaration of Whitty Somvichian

                    7   (“Somvichian Declaration”), the cited portions of these documents contain highly sensitive,

                    8   confidential, and proprietary information that Google designated as “Highly Confidential—

                    9   Attorneys’ Eyes Only” pursuant to the terms of the parties’ Stipulated Protective Order, which the

                   10   Court entered on June 3, 2021 (the “Protective Order”) (ECF No. 59). Throughout this litigation,

                   11   the Court has consistently granted Google’s requests to seal descriptions of Google’s internal logs

                   12   and data systems. See e.g., ECF No. 540 (N.D. Cal. June 8, 2023) (sealing portions of a letter brief

                   13   containing technical details and account identifiers related to Google’s highly sensitive data logs

                   14   and data systems); ECF No. 531 (N.D. Cal. May 26, 2023) (sealing discussion of Google’s

                   15   “technical details and identifiers related to highly sensitive data logs and data systems.”); ECF No.

                   16   384 (N.D. Cal. Dec. 19, 2022) (sealing references to and descriptions of Google’s internal logs and

                   17   the identifiers contained therein).

                   18            Accordingly, Google hereby requests that the Court enter an order sealing the information

                   19   identified in the table below, as reflected in the Proposed Order attached hereto:

                   20                                                                                  Party Claiming
                                     Document                         Text to be Sealed
                                                                                                       Confidentiality
                   21
                         Joint Letter Brief Regarding the Portions highlighted at pages 1-6        Google
                   22    Errata to Deposition Transcript of
                         Dr. Glenn Berntson and Google
                   23
                         Ex. B (Excerpts of the October 30,    Portions highlighted at 210:8-10, Google
                   24    2023 Deposition Transcript of         210:13, 210:25, 211:7, 211:18-
                         Google 30(b)(6) witness Glenn         19, 211:25, 212:6, 212:8, 212:10,
                   25    Berntson) to the Joint Letter Brief   212:13, 212:22
                   26    Ex. C (December 11, 2023 Errata Portions highlighted at page 1            Google
                         to the October 30, 2023
                   27    Deposition of Google 30(b)(6)
                         witness Glenn Berntson) to the
                   28
                         Joint Letter Brief
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                    1   II.    LEGAL STANDARD
                    2          The Ninth Circuit applies two tests to determine whether a party is entitled to file certain
                    3   documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test
                    4   for motions “not related, or only tangentially related, to the merits of a case.” Ctr. for Auto Safety
                    5   v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana
                    6   v. City & County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006). Briefing for a discovery
                    7   motion is non-dispositive, and thus the good cause standard applies here. See, e.g., ECF No. 453
                    8   at 2 (“The underlying discovery dispute does not address the merits of the parties’ claims or
                    9   defenses and the Court therefore applies the ‘good cause’ standard of Rule 26(c).”); Calhoun v.
                   10   Google, No. 20-cv-05146, ECF No. 327, at 2 (N.D. Cal. Sept. 30, 2021) (finding the “good cause”
                   11   standard applies “because the information the parties seek to seal was submitted to the Court in
                   12   connection with discovery-related motions, rather than a motion that concerns the merits of the
                   13   case.”). The good cause standard “requires a ‘particularized showing,’ . . . that ‘specific prejudice
                   14   or harm will result’ if the information is disclosed.” Heath v. Google LLC, No. 15-cv-01824, 2018
                   15   WL 4561773, at *1 (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen.
                   16   Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002)).
                   17   III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF THE JOINT LETTER BRIEF.
                   18          Google respectfully asks this Court to seal portions of the Joint Letter Brief and the
                   19   accompanying Exhibits, which reflect sensitive and technical details concerning Google’s internal
                   20   data logs and data systems associated with Google Real-time Bidding (“Google RTB”).
                   21   (Somvichian Decl. ¶¶ 3, 5.) Pursuant to the good cause standard, Google’s sealing request is
                   22   warranted. As explained below, this information is vital to Google’s commercial success, and is
                   23   the sort of “sensitive, non-public, confidential, and proprietary business information” that courts
                   24   routinely seal under the compelling reasons standard. Adtrader, Inc. v. Google LLC, No. 17-cv-
                   25   07082, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020). Google has also narrowly tailored
                   26   these sealing requests to encompass only the specific portions that qualify as confidential
                   27   information and therefore do not “unduly limit[] public access.” ASUS Comput. Int’l v. Round
                   28
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                    1   Rock Research, LLC, No. 12-cv02099, 2014 WL 2810193, at *2 (N.D. Cal. June 20, 2014); see
                    2   also Civ. L.R. 79-5(c).
                    3          Courts in this District regularly seal similar technical details regarding a company’s data
                    4   infrastructure. See, e.g., In re Google Inc. Gmail Litig., No. 13-md-02430, 2013 WL 5366963, at
                    5   *3 (N.D. Cal. Sept. 25, 2013) (finding compelling reasons to seal information about structures that
                    6   Google has in place and the order in which emails go through these structures); see also In re
                    7   Facebook, Inc. Consumer Priv. User Profile Litig., No. 3:18-md-02843, ECF No. 1082 (N.D. Cal.
                    8   Dec. 6, 2022) (finding good cause to seal certain highly technical information related to the
                    9   defendant’s data systems).
                   10          Public disclosure of this information would also create a risk of cyber security threats as
                   11   bad actors would have access to names of Google’s logs or descriptions of particular data systems
                   12   may make it easier for bad actors to piece together previously unconnectable facts. (Somvichian
                   13   Decl. ¶¶ 3, 6.) This would further jeopardize Google’s data infrastructure as bad actors could target
                   14   and seek to compromise information related to these logs to further infer additional information
                   15   about Google users that Google stores in those logs. (Id.) See also Google Inc. Gmail Litig., 2013
                   16   WL 5366963, at *3 (sealing material that “if made public Google contends could lead to a breach
                   17   in the security” of Google’s systems). In light of these risks, this Court has sealed similar
                   18   information and descriptions of Google’s internal logs and data systems throughout this litigation.
                   19   See e.g., ECF No. 540 (N.D. Cal. June 8, 2023) (sealing technical details and account identifiers
                   20   related to Google’s highly sensitive data logs and data systems); ECF No. 531 (N.D. Cal. May 26,
                   21   2023) (sealing discussion of Google’s “technical details and identifiers related to highly sensitive
                   22   data logs and data systems.”); ECF No. 384 (N.D. Cal. Dec. 19, 2022) (sealing references to and
                   23   descriptions of Google’s internal logs and the identifiers contained therein).
                   24   IV.    CONCLUSION
                   25          For the foregoing reasons, Google respectfully requests the Court seal portions of the Joint
                   26   Letter Brief and the accompanying Exhibits.
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                    1   Dated: January 18, 2024                      COOLEY LLP
                    2

                    3                                                By: /s/ Whitty Somvichian
                                                                         Whitty Somvichian
                    4
                                                                     Attorney for Defendant
                    5                                                GOOGLE LLC
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